                                    Exhibit A

                                Disclosure Protocol




Case: 19-30088   Doc# 5924-1   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 1
                                       of 24
        Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 2 of 24



                                 HOUSTON DISCLOSURE PROTOCOL

Summary

        The following Houston Disclosure Protocol addresses the complex legal and business
issues surrounding the disclosure obligations arising from a Proposed Professional’s retention
under Section 3271 in bankruptcy cases involving more than $50 million in claims. The Protocol
addresses Proposed Professionals of varying types, including law, accounting, financial advisory,
and investment banking firms, that seek compensation from a bankrupt estate. A Schedule of
Defined Terms immediately follows this Summary, and capitalized terms used in this Summary
and in the Protocol have the meanings ascribed to them there. This Summary outlines the
Protocol’s disclosure recommendations and the means or process to satisfy them.

        The Protocol focuses on a Proposed Professional’s disclosure regarding Connections to
parties that could affect the Proposed Professional’s “disinterestedness” and contemplates that
the debtor will create and maintain an Interested Party List to facilitate identification of
Connections (Exhibit “A” to the Protocol addresses the IPL). The Protocol recommends that a
Proposed Professional obtain the data to support disclosure of Connections by procedures that
include, as applicable, a computerized search of client databases, distribution of a questionnaire
(a proposed form of which is provided in Exhibit ‘B” to the Protocol), and inquiry of the
Proposed Professional’s AMAs (if any), as discussed below. While recognizing that a Proposed
Professional bears the burden of adequate disclosure in its retention application and an Estate
Professional bears that burden in all appropriate supplemental disclosures, the Protocol provides
that disclosure of Connections should be based on a Proposed Professional’s actual knowledge of
them, including from the results of a computer search and questionnaire process, as applicable.

        The Protocol distinguishes Connections arising from the different kinds of the Proposed
Professional’s affiliates, including: (a) Retained Affiliates, which the Protocol classifies as
generating Direct Connections of the Proposed Professional, and (b) Unretained Affiliates
(including AMAs), which the Protocol classifies as generating Indirect Connections. As set forth
in the Protocol, the disclosure of known Connections and the process to obtain knowledge of
them should vary in accordance with the characteristics of each Proposed Professional and its
AMAs and other Unretained Affiliates.

         The Protocol classifies AMAs into 4 Types and recommends a process to obtain and
disclose information regarding Connections that varies based on the extent to which the AMA:
(i) is subject to Securities Registration, Regulatory Oversight, and/or Independent Personnel and
Management; (ii) refrains from investing directly in Named Issuers; and (iii) accepts investment
funds from third parties rather than Related Investors. The Protocol recommends that: (a)
Proposed Professionals that qualify as Type 1 Financial Organizations or have Type 1 AMAs
disclose only Direct Connections known to the Proposed Professional without review of the IPL
by an AMA; (b) Proposed Professionals with Type 2, 3 or 4 AMAs should also disclose Direct
Connections known to the Proposed Professional; (c) Proposed Professionals with Type 2 AMAs
should also disclose the names of IPL Parties with Indirect Connections known to the Type 2
AMA as reported by the Type 2 AMA to the Proposed Professional; (d) Proposed Professionals
1
    This Protocol does not address retention applications filed by claims and noticing agents under 28 U.S.C. § 156.


                                                        1
Case: 19-30088            Doc# 5924-1         Filed: 02/26/20        Entered: 02/26/20 21:37:07              Page 2
                                                      of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 3 of 24



with Types 3 and /or 4 AMAs should disclose Indirect Connections known to the AMA(s) and
reported to the Proposed Professional, including direct investments in Named Issuers that are IPL
Parties, and (e) Proposed Professionals with Type 4 AMAs should make such additional
disclosures, if any, as may be appropriate in the circumstances.

        The Protocol recognizes that disclosure of Connections may vary in response to, inter
alia, the size of the bankruptcy case and should exclude de minimis matters. The de minimis
concept is applicable to both the IPL and the disclosure of Connections in a Proposed
Professional’s retention application. De minimis exclusions can be based, for example, on the
small value of a claim, the small ownership percentage and value of an equity interest, or other,
similar considerations. An IPL, and a Proposed Professional’s disclosure of Connections in its
retention application, should state the criteria applied in making de minimis exclusions.




                                               2
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20    Entered: 02/26/20 21:37:07       Page 3
                                             of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 4 of 24



                                      DEFINED TERMS

AMA means an affiliate or division of a Proposed Professional that is actively engaged in
managing or owning financial investments. For clarity, AMA does not refer either to assets that
might be held through investment vehicles or to such investment vehicles, e.g., mutual funds, but
does refer to the entity managing such investment vehicles, i.e., a mutual fund manager.

CFTC means the Commodities Futures Trading Commission.

Connection means, in the context of Section 327 and Rule 2014, an association or relationship
with an IPL Party that a reasonable person might find bears on whether the Proposed
Professional “holds or represents an interest adverse to the estate” and is “disinterested” under
Section 327 and Section 101(14), based on the facts of a particular bankruptcy case.

De minimis means a matter too distant in time, remote in probability, or insignificant to warrant
consideration in the context of a particular bankruptcy case.

Direct Connection means a known Connection between a Proposed Professional and an IPL
Party (other than an Indirect Connection).

Estate Professional means a Proposed Professional whose retention has been approved by the
Bankruptcy Court.

FINRA means the Financial Industry Regulatory Authority.

Immediate Indirect Connection means a known Connection between an IPL Party and a
Proposed Professional’s Unretained Affiliate (including an AMA).

Independent Personnel and Management means, with respect to an AMA of a Proposed
Professional, the employment or engagement of management, professional and other personnel
separate from those of such Proposed Professional, (e.g., excluding the Proposed Professional’s
active employees from the AMA’s management, so that only independent directors/managers or
professionals that are not active employees of (or that have retired from) the related Proposed
Professional serve on the AMA’s board of directors (or other equivalent governing body)).

Indirect Connection means an Immediate Indirect Connection or a Remote Indirect Connection.

Information Barriers means policies and procedures of a referenced entity (including but not
limited to policies and procedures adopted in compliance with Rule 10b5-1) that seek reasonably
to ensure that (a) such entity’s investment decisions not violate the laws prohibiting trading on
the basis of MNPI, and (b) Proposed Professional Personnel have no participation in or
knowledge concerning investment decisions made by the Proposed Professional or its affiliates.

Interested Party List or IPL means a list of parties with Connections to the debtor’s estate
(other than de minimis connections).

IPL Parties means the persons or parties listed on an IPL.


                                               3
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20    Entered: 02/26/20 21:37:07       Page 4
                                             of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 5 of 24




MNPI means material non-public information.

Named Issuers means an issuer of debt or equity securities (including a municipality), including
parties that could become a debtor in a bankruptcy case.

NFA means the National Futures Association.

Other Regulatory Oversight means examination by any federal, state or foreign regulatory
authority regarding compliance with regulatory requirements, other than Regulatory Oversight.

Proposed Professional means a professional person or entity proposed to be retained in
connection with a pending bankruptcy case under Section 327. As used in this Protocol, the term
“Proposed Professional” includes Retained Affiliates.

Proposed Professional Personnel means the primary working group within a Proposed
Professional entity that directly provides the services for which the Proposed Professional is
retained in the particular bankruptcy case, and excludes personnel that only episodically provide
such services.

Regulatory Oversight means periodic regulatory examinations by the SEC, FINRA, or the
NFA.

Related Investors means, with respect to a Proposed Professional, the Proposed Professional’s
current and former ultimate beneficial owners, employees and their immediate family members.

Remote Indirect Connection means a known Connection arising from a relationship between a
Proposed Professional’s Unretained Affiliate (including an AMA) and a third party, which third
party, in turn, has a Connection with an IPL Party.

Retained Affiliates means those affiliates of a Proposed Professional that employ professional
personnel for whom the Proposed Professional will seek compensation pursuant to Section 330
of the Bankruptcy Code.

Rule 10b5-1 means 17 C.F.R. 240.10b-5.

Rule 2014 means Federal Rule of Bankruptcy Procedure 2014.

SEC means the United States Securities and Exchange Commission.

Section 101(14) means 11 U.S.C. § 101(14).

Section 327 means 11 U.S.C. § 327.

Securities Registration means, with respect to a referenced entity, such entity’s registration (and
attendant regulation) as an investment advisor by the SEC, as a securities broker/dealer by
FINRA, or under the requirements of the CFTC.


                                                4
Case: 19-30088      Doc# 5924-1       Filed: 02/26/20    Entered: 02/26/20 21:37:07        Page 5
                                              of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 6 of 24




Survey means the Summary of Industry Affiliate Investment Disclosures. In re: Westmoreland
Coal Co., Case No. 18-35672 (Bankr. S.D. Tex.), ECF No. 1659-1 pp. 2-66.

Third-Party Managed Investments means investments (including through mutual funds and
other investment vehicles) that are managed by third parties with delegated investment authority
and discretion.

Type means one of the four (4) types of AMAs that are classified in this Protocol.

Type 1 AMA means an AMA that either:

           A. (i) employs Information Barriers, (ii) is subject to both Securities Registration and
              Regulatory Oversight, and (iii) obtains most or all of its assets under management
              from third parties (i.e., parties other than Related Investors); or

           B. qualifies under the criteria provided in subsections (A)(i) and (ii), above, but
              obtains most or all of its assets under management from Related Investors and not
              from third parties, and also insulates its personnel and management by means of
              Independent Personnel and Management.

Type 2 AMA means an AMA that: (i) qualifies under the criteria provided in subsections (A)(i)
and (ii) in the definition of Type 1 AMA, above; (ii) obtains most or all of its assets under
management from Related Investors and not from third parties; (iii) does not make direct
investments in Named Issuers but only, if at all, holds investments in Named Issuers as Third-
Party Managed Investments; and (iv) does not have Independent Personnel and Management.

Type 3 AMA means an AMA that: (i) employs Information Barriers; (ii) is subject to either: (A)
Regulatory Oversight, or (B) Other Regulatory Oversight; (iii) obtains its assets under
management from Related Investors or third parties; and (iv) may make direct investments in the
debt or equity of Named Issuers, whether or not it also holds such investments as a result of
Third-Party Managed Investments.

Type 4 AMA means an AMA not qualifying as a Type 1, Type 2 or Type 3 AMA.

Type 1 Financial Organization means a Proposed Professional, including an investment
banking or similar institution (including a financial advisor affiliated with an investment bank),
that has Information Barriers and other characteristics of and would therefore qualify as a Type 1
AMA. A Type 1 Financial Organization retains its classification as such even if it does not have
assets under management. A Type 1 Financial Organization also retains its classification as such
notwithstanding that it may include affiliates of other Types (e.g., Type 3 AMAs engaged in
insurance activities, and Type 4 AMAs acting in various capacities in ownership and/or
management of investment assets).

Unretained Affiliate means an affiliate of a Proposed Professional other than a Retained
Affiliate.



                                               5
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20     Entered: 02/26/20 21:37:07        Page 6
                                             of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 7 of 24



Introduction

        Rule 2014 requires disclosure of connections between a Proposed Professional and
certain parties in interest in bankruptcy cases. None of Rule 2014, Section 327, or the decisional
law construing any of them provides Proposed Professionals (and Estate Professionals) and in
particular, those having an AMA, any clear guidance regarding adequate disclosure of their
AMA’s connections with parties in interest in a bankruptcy case. This Protocol: (a) suggests
definitions for a Connection requiring disclosure and categorizes such Connections; (b) classifies
AMAs within four Types; (c) differentiates the disclosure of Connections recommended for the
four Types of AMAs; (d) discusses knowledge of Connections and the means to obtain it; and (e)
addresses confidentiality concerns and requirements for updating disclosure of Connections.

        This Protocol does not endeavor to and could not effectively provide definitive guidance
to all Proposed Professionals in all circumstances. Proposed Professionals range from sole
practitioners or single office practices to complex international firms with thousands of
professionals and multiple AMAs of various Types. Proposed Professionals may similarly be
subject to a wide range of regulation, including self-regulatory rules and standards governing
legal and accounting professionals, and Securities Registration and/or Regulatory Oversight to
which financial advisory and investment banking firms may be subject. Proposed Professionals
also are subject to a broad range of consequences for violation of the respective rules, regulations
and laws that govern them, including license suspension or loss, enforcement under Securities
Registration and/or Regulatory Oversight, and potential civil and criminal liabilities for misuse
of MNPI. This Protocol therefore provides general guidance regarding how Proposed
Professionals may obtain information and make proper disclosures to support their retention in
U.S. bankruptcy cases that are within the scope of this Protocol, but this Protocol does not
provide specific guidance for all Proposed Professionals, regardless of their type, size and
structure, or in all bankruptcy cases, regardless of their size, scope, or operative facts. This
Protocol recognizes that a Proposed Professional may deviate from its suggested data gathering
procedures and disclosure recommendations based upon its particular facts and circumstances.
No such deviation, per se, however, should support a contention that a Proposed Professional is
not disinterested or that its retention should not be approved.

        A Proposed Professional bears the burden of making appropriate disclosure of
Connections in its initial retention application and an Estate Professional bears a continuing
burden to supplement that disclosure as appropriate in the circumstances. This Protocol proposes
a framework for disclosure of Connections by Proposed Professionals, Estate Professionals, and
their affiliates in bankruptcy cases involving more than $50 million in liabilities.
        Connection should be broadly defined to respect the term’s ordinary meaning and
accomplish the important purposes of Rule 2014 and Section 327 to ensure that a Proposed
Professional is a “disinterested person” as defined in Section 101(14). Section 327’s primary
functions include: (a) allowing the estate to obtain and retain expertise to fulfill its essential
functions; (b) requiring disclosure of matters that might affect Estate Professionals’ performance
of their duty of loyalty; and (c) maintaining the integrity of the bankruptcy process and
promoting the parties’ and the public’s confidence in that integrity. Section 327 requires that
Proposed Professionals “not hold or represent an interest adverse to the estate” and are
“disinterested persons.” Section 101(14)(c) requires that a disinterested person “not have an


                                                6
Case: 19-30088      Doc# 5924-1       Filed: 02/26/20     Entered: 02/26/20 21:37:07        Page 7
                                              of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 8 of 24



interest materially adverse to the interest of the estate or of any class of creditors or equity
security holders, by reason of any direct or indirect relationship to, connection with, or interest in
the debtor, or for any other reason.” Rule 2014 disclosure is intended to provide the Bankruptcy
Court and parties in interest in a bankruptcy case with information adequate to evaluate whether
a Proposed Professional is a disinterested person and qualified to serve under Section 327.
        The definition of Connection and Rule 2014’s related disclosure obligations should not
impair an effective evaluation of disinterestedness by requiring disclosure of every possible
connection, no matter how de minimis. Further, Rule 2014 disclosure should not impractically
require disclosure of unknown information or ignore valid confidentiality concerns.
        The formulation of this Protocol has been informed by the Survey. The Survey reflects
that, in the absence of any definition of Connection and disclosure guidelines, Proposed
Professionals have adopted widely disparate practices governing disclosure of Connections, even
among similarly situated Proposed Professionals. This Protocol was further informed by the
results of telephonic interviews conducted with representatives of more than a dozen separate
professional firms with significant Chapter 11 experience, who expressed their willingness to
discuss (for themselves and not as an expression of their firm’s policies or procedures), in a
candid, off-the-record context and not for attribution in the Protocol, disclosure issues arising
from the retention application process. This Protocol provides guidance to Proposed
Professionals regarding such disclosures.
1.     Description of Connections
       a.      Requirement of Disclosure. Rule 2014 requires disclosure of the Connections of
the “person to be employed,” and Section 101(14) refers to “direct or indirect relationships,” but
neither Rule 2014 nor related decisional law addresses whether Indirect Connections (i.e.,
Connections created by affiliates of a Proposed Professional) must be disclosed.
        b.      Interested Parties and Interested Party List. In order to facilitate a Proposed
Professional’s disclosure of Connections, the debtor, in consultation with its outside restructuring
counsel, should prepare and make an Interested Party List (or IPL) available to all Proposed
Professionals. If a Proposed Professional believes that the then-current IPL should be amended,
such Proposed Professional should so advise the debtor’s counsel. If no IPL has been prepared
when a Proposed Professional files its retention application, the retention application should
disclose that fact and explain how the Proposed Professional identified Connections. Exhibit “A”
to this Protocol includes an IPL template, as well as guidelines for a debtor’s consideration in
preparing an IPL in light of the particular facts and circumstances of a bankruptcy case.
        c.     Retained Affiliates. A Proposed Professional should: (i) seek retention (and
include the identity) of Retained Affiliates in its retention application; and (ii) ensure that its
retention application discloses all known Connections (other than de minimis connections)
among IPL Parties and such Retained Affiliates.
       d.      Protocol Organization. Paragraph 2 provides for certain disclosures relating to
Immediate Indirect Connections. Paragraph 6 addresses what constitutes knowledge in
connection with preparing retention application disclosures. Paragraph 8 discusses confidential
treatment for Connections and IPL Parties in certain circumstances.



                                                 7
Case: 19-30088       Doc# 5924-1       Filed: 02/26/20     Entered: 02/26/20 21:37:07        Page 8
                                               of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 9 of 24



        e.      De Minimis Exclusions. Effective disclosure in large bankruptcy cases requires
reasonable exclusion of de minimis connections and parties that should not qualify as IPL Parties
(e.g., small creditor, vendor, customer exclusions, and investments falling below a threshold), as
described on Exhibit “A.” Section 101(14)(c)’s reference to “material” supports excluding de
minimis connections. For instance, a Proposed Professional may determine that an equity
investment in an IPL Party of less than 1% of the outstanding equity or debt (with a value the
Proposed Professional determines to be de minimis) need not be disclosed. Each IPL and each
Proposed Professional’s retention application that excludes de minimis parties or connections
should state the criteria, based on the facts and circumstances of the case (commonly, a dollar
and/or percentage amount) applied to make such exclusions from disclosure.
        f.      Disclosure under this Protocol. Subject to de minimis exclusions as set forth
herein, this Protocol recommends:
       (i) A Proposed Professional (including Retained Affiliates) should disclose all known
       Direct Connections, and also disclose all Indirect Connections known to its Unretained
       Affiliates (including AMAs) and reported to it. Except as otherwise provided in this
       Protocol (including in Paragraph 8 regarding confidentiality), disclosed Connections
       should be identified by name and adequately described.
       (ii) A Proposed Professional should obtain knowledge of Connections through its new
       matter intake process, by computer database searches, questionnaires and otherwise as
       described in this Protocol.
       (iii) A Proposed Professional should disclose whether it has any AMAs, and if it does, it
       should describe such AMAs’ classification by Type as provided for in this Protocol,
       including (as applicable) such AMAs’: (A) Information Barriers; (B) Related Investors;
       (C) practices regarding direct investments in Named Issuers and/or through Third-Party
       Managed Investments; (D) Independent Personnel and Management; and (E) Regulatory
       Oversight and/or Other Regulatory Oversight.
       (iv) A Proposed Professional that does not qualify as a Type 1 Financial Organization or
       have a Type 1 AMA, and does have one or more Type 2, 3 and/or 4 AMAs, should
       provide the IPL to such Type 2, 3 and/or 4 AMAs and request the AMAs to report
       Indirect Connections to the Proposed Professional as provided in this Protocol (including
       enhanced disclosure for Type 3 and 4 AMAs).
2.     Indirect Connections
       a.       Requirement of Disclosure. Immediate Indirect Connections should be
disclosed, as bearing upon whether the Proposed Professional “holds or represents an interest
adverse to the debtor,” including Immediate Indirect Connections of: (i) Unretained Affiliates (as
disclosed pursuant to an applicable questionnaire process), and (ii) Type 2, 3 and 4 AMAs (as
disclosed in response to the distribution of the IPL), all as discussed below.
        b.     Remote Indirect Connection. The Survey reflects that Remote Indirect
Connections are not generally disclosed, likely because Proposed Professionals have no
knowledge of them. This Protocol recommends disclosure of a Remote Indirect Connection
(other than a de minimis connection) only if the Proposed Professional has knowledge thereof. A


                                               8
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20     Entered: 02/26/20 21:37:07       Page 9
                                             of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 10 of 24



Proposed Professional’s retention application should disclose the potential existence of unknown
Remote Indirect Connections with IPL Parties. A Proposed Professional is not required to
conduct procedures other than those set forth in this Protocol to identify Remote Indirect
Connections.
3.     Indirect Connections through Asset Management Affiliates
        a.      AMA Disclosure. When a Proposed Professional (including, without limitation,
a law, accounting, financial advisory or investment banking firm) has an Unretained Affiliate
that is an AMA, additional disclosure may be required to explain the AMA’s Connections and
their impact, if any, on the Proposed Professional’s disinterestedness. That additional disclosure
should also describe whether the AMA accepts funds from third parties or Related Investors, and
whether the AMA makes direct investments in the debt or equity securities (i.e., buys or sells
short, long, option or other positions) of Named Issuers or holds investments in Named Issuers
through Third-Party Managed Investments, or both. Based on the Survey, many Proposed
Professionals do not identify such AMAs individually by name, but rather identify them
descriptively and generically. This Protocol does not intend to change that practice. The
description of such AMAs should categorize them by reference to the applicable “Types”
described below. Most Proposed Professionals (in common with most employers) maintain
401(k) programs and support various other pension and/or other retirement account programs for
their employees’ benefit as Third-Party Managed Investments and without using an AMA; such
arrangements do not trigger any requirement for analysis as an AMA under this Protocol.
        b.     Material Non-Public Information; Regulation and Oversight. Proposed
Professionals, Estate Professionals and their respective AMAs frequently possess MNPI and
often implement Information Barriers to address this. These entities may also be subject to
regulation and oversight, including Securities Registration and/or Regulatory Oversight.
       c.      AMA Classification. This Protocol identifies four Types of AMAs (Types 1, 2, 3
and 4) and proposes corresponding disclosure requirements for each Type. If a Proposed
Professional believes its AMA has characteristics of more than one Type, its retention
application should discuss these characteristics and include disclosure applicable to the higher
numbered Type (e.g., an AMA with characteristics of both a Type 3 and Type 4 AMA should
make the disclosure required for a Type 4 AMA). If a Proposed Professional believes its AMA
should be classified differently from these Types, its retention application should discuss this and
include disclosure most appropriate to such AMA.
        d.     Change in AMA Type. An AMA’s classification can change over time. For
example: a Type 4 can qualify as a Type 3 by implementing Information Barriers and becoming
subject to Regulatory Oversight or Other Regulatory Oversight; a Type 3 can qualify as a Type 2
by becoming subject to Securities Registration (and, if applicable, Regulatory Oversight rather
than Other Regulatory Oversight) and holding investments in Named Issuers only as Third-Party
Managed Investments; and a Type 2 can become a Type 1 by implementing Independent
Personnel and Management. With respect to each bankruptcy case in which a Proposed
Professional files a retention application, however, the Proposed Professional should classify its
AMA(s) (as a Type 1, 2, 3 or 4) based on the AMA’s characteristics when the Proposed
Professional files its initial retention application in such case, and this classification should
remain in effect throughout the course of such case (i.e., the same classification should apply to


                                                9
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20     Entered: 02/26/20 21:37:07        Page 10
                                              of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 11 of 24



an Estate Professional’s updated retention application disclosures). Accordingly, the same AMA
of a Proposed Professional may be classified differently in different bankruptcy cases, based on
its characteristics at the time that the Proposed Professional files its initial retention application
in the different bankruptcy cases.
4.     Disclosures Relating to Type 1 Financial Organizations and Type 1 AMAs
        a.     Present Type 1 Financial Organization and Type 1 AMA Disclosure. The
Survey indicates that a retention application for a Proposed Professional qualifying as a Type 1
Financial Organization or having an AMA that this Protocol categorizes as a Type 1 AMA
commonly discloses only Direct Connections known to the Proposed Professional Personnel
because its Information Barriers, Securities Registration and Regulatory Oversight fully protect
MNPI, and insulate the Proposed Professional Personnel from any effects that MNPI could
potentially create with respect to the Proposed Professional’s disinterestedness. Such Proposed
Professional Personnel generally have no knowledge of (and therefore the Proposed Professional
does not disclose) debt or equity investments in IPL Parties because of the effectiveness of the
Information Barriers applicable to communication and misuse of MNPI and insulating Proposed
Professional Personnel from participation in or knowledge of investment decisions.
        b.     Proposed Type 1 Financial Organization and Type I AMA Disclosure. This
Protocol proposes that the disclosures of Connections in a retention application of a Proposed
Professional qualifying as a Type 1 Financial Organization or having a Type 1 AMA may
properly be limited to identifying the names (subject to confidentiality considerations) of Direct
Connections (other than de minimis connections) known to such Proposed Professional in
reliance on the presumed effectiveness of Information Barriers. Such named entities should
ordinarily be described as “a current or former client, but with respect to matters unrelated to the
Debtor,” absent facts or circumstances that require enhanced disclosure. Bankruptcy Courts
have consistently approved retention applications based upon such disclosures.
5.    Disclosures relating to Type 2, 3 and 4 AMAs
       a.      Present Type 2, 3 and 4 AMA Disclosure. The Survey indicates that retention
applications for a Proposed Professional with an AMA that this Protocol categorizes as a Type 2,
3, or 4 AMA include increased disclosures because: (i) such a firm accepts most or all of its
investments from Related Investors; (ii) a Type 3 AMA may be subject only to Other Regulatory
Oversight (and may not by subject to any Securities Registration); (iii) a Type 4 AMA may not
be subject to regulatory examinations or Securities Registration at all; and (iv) a Type 3 or 4
AMA may make direct investments in Named Issuers, rather than investing exclusively through
Third-Party Managed Investments.
        b.     Considerations for Type 2 AMA Disclosures. A Proposed Professional with an
AMA that this Protocol categorizes as a Type 2 AMA could credibly contend that its disclosure
obligations in respect of its Type 2 AMA should be the same as the disclosure obligations in
respect of Type 1 AMAs because its Type 2 AMA protects MNPI by means of the same
Information Barriers enforced by the same Securities Registration and Regulatory Oversight as
those that apply to Type 1 AMAs. In addition, a Type 2 AMA refrains from direct investments in
Named Issuers, and a Type 1 AMA may make direct investments in Named Issuers.
Nonetheless, this Protocol recommends increased disclosure by a Proposed Professional with a
Type 2 AMA in order to advance the purposes of (i) protecting public confidence in the integrity


                                                10
Case: 19-30088      Doc# 5924-1       Filed: 02/26/20     Entered: 02/26/20 21:37:07         Page 11
                                               of 24
    Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 12 of 24



of the restructuring process, and (ii) ensuring an absence of self-dealing because a Type 2 AMA
obtains most or all of its funds under management from Related Investors and may be managed
and controlled by active professional personnel that also manage and control the related
Proposed Professional (rather than utilizing Independent Personnel and Management).
        c.     Proposed Type 2 AMA Disclosure. A retention application for a Proposed
Professional (other than a Type 1 Financial Organization) with a Type 2 AMA should disclose
known (i) Direct Connections of the Proposed Professional, and (ii) Immediate Indirect
Connections of its Type 2 AMA, in each case other than de minimis connections. Disclosure of
known Immediate Indirect Connections (other than de minimis connections) of a Type 2 AMA
will consist of identifying the IPL Parties, if any, to which the Type 2 AMA has Immediate
Indirect Connections, if and as reported by the Type 2 AMA to its related Proposed Professional.
A Proposed Professional with a Type 2 AMA should provide the IPL to its Type 2 AMA, and
request its Type 2 AMA to inform it of known Immediate Indirect Connections (other than de
minimis connections) to IPL Parties for potential disclosure in the Proposed Professional’s
retention application pursuant to this Protocol, including Paragraph 6, below, regarding
knowledge.
       d.       Proposed Type 3 AMA Disclosure. A retention application for a Proposed
Professional (other than a Type 1 Financial Organization) with a Type 3 AMA should contain
enhanced disclosure that reflects (i) such AMA’s Regulatory Oversight or Other Regulatory
Oversight, as applicable; and (ii) the extent of any Securities Registration applicable to such
AMA. Such retention application disclosure should also address how, if at all, these
characteristics of its AMA could cause any potential impairment to the Proposed Professional’s
perceived or actual disinterestedness. Because Type 3 AMAs may make direct investments in
Named Issuers, the disclosures required from such a Proposed Professional with a Type 3 AMA
should disclose known Indirect Connections (other than de minimis connections) between the
Type 3 AMA and IPL Parties including those arising from any such direct investments in Named
Issuers that appear in the IPL, in each case as reported by the Type 3 AMA to its related
Proposed Professional.
        e.     Proposed Type 4 AMA Disclosure. A retention application for a Proposed
Professional (other than a Type 1 Financial Organization) with a Type 4 AMA should contain
enhanced disclosure that sets forth the Securities Registration, Regulatory Oversight and/or
Other Regulatory Oversight (or lack thereof) applicable to the Proposed Professional. Such
retention application disclosure should also address how, if at all, these characteristics of its
AMA could cause any potential impairment to the Proposed Professional’s perceived or actual
disinterestedness. If the applicable Type 4 AMA makes direct investments in Named Issuers, the
disclosures required from such a Proposed Professional with such Type 4 AMA should disclose
known Indirect Connections (other than de minimis connections) between the Type 4 AMA and
IPL Parties, including those arising from any such direct investments in Named Issuers that
appear in the IPL, in each case if and as reported by the Type 4 AMA to its related Proposed
Professional. The disclosures required in a retention application of a Proposed Professional with
a Type 4 AMA should be informed by the disclosure provided with respect to other categories of
AMAs and supplemented as appropriate based on the facts and circumstances applicable to the
particular AMA and bankruptcy case.




                                              11
Case: 19-30088     Doc# 5924-1      Filed: 02/26/20    Entered: 02/26/20 21:37:07       Page 12
                                             of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 13 of 24



6.     Disclosure Based on Actual Knowledge
        The disclosure obligations of a Proposed Professional under this Protocol derive from the
Proposed Professional’s knowledge of Connections (other than de minimis connections),
including the knowledge of Connections of a Proposed Professional’s AMAs (if any) which the
AMA may report to the Proposed Professional. In the case of Type 2, 3 and 4 AMAs with only
Third-Party Managed Investments, disclosure of investments in Named Issuers included in the
IPL Parties that such managers may make from time to time would be impractical because of,
inter alia, the frequency of trading in such positions, and the AMA’s limited knowledge thereof
(if any). To be sure, Proposed Professionals cannot disclose unknown Connections, and this
Protocol does not suggest that they do so. Instead, this Protocol provides procedures to obtain
such knowledge. For purposes of this Protocol, a Proposed Professional’s knowledge of
Connections means actual knowledge derived from its new matter intake process and the results
of the Proposed Professional’s: (a) computer client database check (as described in Paragraph 7,
below); (b) any applicable inquiry of its professional personnel (and Unretained Affiliates other
than AMAs) by a questionnaire process or otherwise (also as described in Paragraph 7, below);
(c) review of the report it receives of its AMA’s (if applicable) check for conflicts and
Connections (or any other applicable) process; and (d) review of any other process for its
Unretained Affiliates (if any, and other than an AMA). All references to “knowledge” in this
Protocol refer to actual knowledge. As discussed in Paragraph 7(e), below, if a Proposed
Professional limits its retention application disclosure to the knowledge of Proposed Professional
Personnel, that limitation should be disclosed in the retention application. A retention
application of a Proposed Professional with knowledge of Direct Connections or Indirect
Connections with IPL Parties (other than de minimis connections), should disclose all such
Connections. In addition, if a Proposed Professional has knowledge of a Connection (other than a
de minimis connection) with a person not included in the IPL, such Connection should be
disclosed.
7.     Determination of Whether a Connection Exists
        Proposed Professionals should obtain knowledge of whether Connections exist generally
by following the procedures discussed below, subject to adaptations to disclose particular
circumstances affecting a particular Proposed Professional and bankruptcy case. Each retention
application for a Proposed Professional should describe the process and procedures it utilized to
obtain knowledge of Connections.
        a.     Interested Party List. Subject to Paragraph 6 of this Protocol regarding
knowledge, Proposed Professionals can reasonably and in good faith rely on the list of IPL
Parties, consistent with the description and template attached as Exhibit “A,” prepared (and
periodically updated, with information derived from the debtor’s bankruptcy schedules and
otherwise, as described in Exhibit “A” and in Paragraph 10, below) by the debtor.
       b.      Process to Check for Conflicts and Connections. Every Proposed Professional
should perform (in connection with its other new matter intake procedures) a process to check
such Proposed Professional’s client databases for conflicts and Connections with IPL Parties. A
Proposed Professional should utilize a process designed to identify Connections adequately in
the context of the size and organizational complexity of the Proposed Professional. For entities



                                              12
Case: 19-30088     Doc# 5924-1      Filed: 02/26/20     Entered: 02/26/20 21:37:07       Page 13
                                             of 24
      Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 14 of 24



with a significant number of professionals, this process often utilizes computer software.1 For
Proposed Professionals with a large number of professionals, this Protocol recommends
deployment of adequate software within a reasonable time. Pending such deployment, a
Proposed Professional may retain an independent third party to assess the adequacy of the
alternative procedures the Proposed Professional uses to identify and appropriately disclose
Connections.
       A Proposed Professional (other than a Type 1 Financial Organization or a Proposed
Professional with Type 1 AMAs) should distribute the IPL to its Type 2, 3 and 4 AMAs, request
them to report any Connections (other than de minimis connections) to the Proposed
Professional, and disclose in its retention application all Connections so reported. In addition, a
Proposed Professional should distribute the IPL to its Proposed Professional Personnel, request
them to report any Connections (other than de minimis connections) to the Proposed
Professional, and disclose in its retention application all Connections so reported.

        c.       Questionnaires. A Proposed Professional should disclose in its retention
application the results from written inquiries of the Proposed Professional’s professional
personnel (as distinguished from staff, support or administrative personnel), and (to the extent, if
any, appropriate) Unretained Affiliates (if any) controlled by the Proposed Professional
regarding: (i) their known equity or debt investments in the debtor (e.g., excluding Third-Party
Managed Investments); and (ii) other connections or relationships with the debtor (other than the
Proposed Professional’s proposed engagement), the Bankruptcy Court judges, or United States
Trustee personnel. Exhibit “B” to this Protocol presents a sample questionnaire. Particularly for
Proposed Professionals organized in complex global structures, Exhibit “B” may require
substantial modification, or a different (or even no) approach to seeking this information from
certain of its professional employees and affiliates may be appropriate.
        d.     AMA’s Report. A Proposed Professional should set forth in its retention
application the results reported to the Proposed Professional from its AMA’s (if applicable)
search with respect to IPL Parties (including any alternative processes or rationale for omission
thereof).
        e.     Type 1 Financial Organizations and Type 1 AMAs. As discussed above, Type
1 Financial Organizations and Type 1 AMAs are subject to Information Barriers that not only
protect against misuse of MNPI but also insulate Proposed Professional Personnel from
participation in or knowledge concerning investment decisions. Accordingly, it may be
appropriate for such Proposed Professionals to obtain knowledge of Connections from their new
matter intake procedures and computer client database reviews and base their disclosures on the
knowledge of their Proposed Professional Personnel derived therefrom, without using
questionnaires (other than directed to its Proposed Professional Personnel) or other procedures.
8.       Confidentiality Considerations
       If a Connection (or the identity of an IPL Party) that should be disclosed under this
Protocol is subject to confidentiality considerations and the Proposed Professional seeks not to
disclose the Connection or the name of the IPL Party, the following steps should be taken:
1
     Law firms generally use proprietary software licensed from vendors, while financial advisory firms more
     typically develop such software themselves or through third-party consultants.


                                                   13
Case: 19-30088        Doc# 5924-1        Filed: 02/26/20      Entered: 02/26/20 21:37:07          Page 14
                                                  of 24
      Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 15 of 24



        a.      Description in IPL. The Connection (or IPL Party) should be described (but not
identified) in sufficient detail to permit informed decisions concerning the Proposed
Professional’s “disinterestedness” (as defined in Section 101 (14));
        b.      Identity Filed Under Seal. The party seeking to preserve confidentiality with
respect to IPL Parties or Connections may file a motion for leave to file the identity of the
confidential party under seal under Rule 9018, Federal Rules of Bankruptcy Procedure, on
notice to the Office of the U.S. Trustee, the Debtor, any official committee, the holders of the 20
largest claims against the Debtor, any party that has requested notice pursuant to Rule 2002,
Federal Rules of Bankruptcy Procedure, any applicable local rule, and all other parties entitled to
notice of motions of this type under orders of the Bankruptcy Court in the Debtor’s bankruptcy
case. If the Bankruptcy Court enters an order granting such relief, in whole or in part, the party
obtaining such relief should proceed in accordance therewith; and
       c.        Access to Sealed Information. Subject to the provisions of any particular
Bankruptcy Court’s sealing order, any party in interest, including the United States Trustee, may
ask the Bankruptcy Court for permission to review (or for their counsel to review) the sealed
information, and the party seeking access to the information bears the burden of proof regarding
such request. The Bankruptcy Court order granting such access may protect the information’s
continuing confidentiality. See, e.g., Order Authorizing Evercore Group L.L.C. To File Under
Seal Certain Confidential Information Related to Evercore’s Retention Application, In re: Jones
Energy, Inc., et al., Case No. 19-32112 (Bankr. S. D. Tex.), ECF No.210.
9.      Look-back Period and Diligence
        a.      Time Period. A Proposed Professional should disclose Connections during the
three years preceding the commencement of the bankruptcy case unless the circumstances
reasonably warrant a longer period. For example, if a Proposed Professional represented a party
in interest in a leveraged buy-out of the debtor eight years before the petition date, the
Connection should be disclosed. Conversely, if a Proposed Professional represented a creditor of
the debtor in a matter unrelated to the debtor four years before the petition date, no disclosure of
that connection should be required.
        b.    Additional Processes.        A Proposed Professional (and AMAs and other
Unretained Affiliates) may, but should not be required to, conduct a process or procedure to
identify Connections in addition to those set forth in this Protocol.
10.     Updates
        A Proposed Professional, once retained, has ongoing disclosure obligations. The debtor
has the continuing obligation to update the IPL. This Protocol recommends that a debtor update,
file and serve the IPL in a manner that clearly identifies changes thereto from prior versions no
less frequently than every 90 days, including in connection with the filing of the debtor’s
schedules and statements, the passage of the claims bar date, the commencement of adversary
proceedings, and filings under Bankruptcy Rule 2019 or by prospective purchasers of the
debtor’s assets. Estate Professionals should supplement their Rule 2014 disclosures, to the
extent necessary as a result of updated IPLs and other developments in the bankruptcy case,
including by reason of newly discovered or inadvertently omitted Connections. Without limiting
Estate Professionals’ obligations relating to prompt disclosure of known Connections, Estate


                                               14
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20     Entered: 02/26/20 21:37:07        Page 15
                                              of 24
    Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 16 of 24



Professionals may maintain continuing compliance with their supplemental disclosure
obligations under Rule 2014 by updating their disclosures in accordance with this Protocol
within a reasonable time after the debtor’s filing of updated IPLs, to the extent required as a
result thereof.




                                             15
Case: 19-30088     Doc# 5924-1     Filed: 02/26/20    Entered: 02/26/20 21:37:07      Page 16
                                            of 24
        Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 17 of 24



                      EXHIBIT A TO HOUSTON DISCLOSURE PROTOCOL3




3
    Defined terms used and not otherwise defined in this Exhibit have the meanings ascribed to them in the Protocol.


                                                   Exhibit A - 1
Case: 19-30088           Doc# 5924-1          Filed: 02/26/20 Entered: 02/26/20 21:37:07                    Page 17
                                                       of 24
    Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 18 of 24



           GUIDELINES AND TEMPLATE FOR INTERESTED PARTY LIST

         “Interested Parties List” or “IPL” means a list of people and entities, grouped into
categories of their Connections, identified by name, and prepared to assist Proposed
Professionals in complying with disclosure obligations under Rule 2014. The debtor, with the
assistance of its outside restructuring counsel, should compile the initial IPL as part of due
diligence leading up to the bankruptcy filing. An IPL categorizes each IPL Party in accordance
with the nature of the Connection it has with the debtor, parties associated with the debtor (e.g.,
current directors, executive officers and debt and equity holders), and other IPL Parties (e.g.,
vendors, customers, contract, lease and litigation counterparties). Proposed Professionals rely on
the IPL to provide the names of parties to review for possible Connections. In bankruptcy cases
involving issuers of public debt or equity securities, it may be most efficient to construct the IPL
using commercially available databases that offer exact legal names of entities and their
affiliates.

        An IPL may be both broader and narrower than the persons or entities the debtor lists in
schedules and statements of financial affairs. An IPL (and updates to it as provided for in the
Protocol) should include, without limitation, members of official committees, proposed
purchasers of the debtor’s assets, and other Estate Professionals, none of which may appear in
the debtor’s schedules and statements. An IPL may exclude de minimis potential IPL Parties that
the debtor’s schedules and statements will include. Particularly in larger cases, the debtor’s
schedules and statements may not be available before a Proposed Professional files its retention
application. Accordingly, an IPL that the debtor makes available may form the best source of
this information available to a Proposed Professional filing its retention application early in the
bankruptcy case.

       As set forth in the Protocol, a debtor should change and update the IPL during the course
of a bankruptcy case, at intervals no less than 90 days, to reflect changing facts and
circumstances in the case, including new developments, as well as to cure inadvertent omissions.
Updates should reflect, among other things, the matters, events and circumstances addressed in
the template provided below.




                                          Exhibit A - 2
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20 Entered: 02/26/20 21:37:07            Page 18
                                              of 24
       Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 19 of 24



                                        EXHIBIT “A”

                                       IPL TEMPLATE

       In its initial compilation of the IPL, the debtor should consider including the following
categories of parties with Connections, as applicable:

   •      Debtor(s)
   •      Debtor affiliates and subsidiaries
   •      Current and former officers and directors (within the last 3 years)
   •      Affiliates of current and former officers and directors
   •      Significant equity holders (more than 5%)
   •      Prepetition lenders / noteholders
   •      Prepetition Indenture trustees / agents
   •      Initial DIP lenders
   •      U.S. Bankruptcy Court Judges serving in the District (as updated, only the Bankruptcy
          Judge presiding over the bankruptcy case will remain an IPL Party)
   •      U.S. District Court Judges for the applicable district
   •      U.S. Trustee (for the applicable region) and Staff Attorneys and Trial Attorneys in the
          District in which the case is filed
   •      Top 50 unsecured creditors
   •      Identified bankruptcy professionals
   •      Ordinary course professionals
   •      Contract counter-parties (other than de minimis)
   •      Vendors / suppliers (other than de minimis)
   •      Customers (other than de minimis)
   •      Competitors (other than de minimis)
   •      Landlords and lease counter-parties (other than de minimis)
   •      Licensees and licensors (including under intellectual property rights) (other than de
          minimis)
   •      Utility companies (other than de minimis)
   •      Litigation counter-parties (other than de minimis)
   •      Regulatory agencies / governmental bodies
   •      Taxing authorities (other than de minimis)
   •      Labor unions
   •      Depository banks (other than de minimis)
   •      L/C issuers
   •      Lien claimants
   •      Insurance providers and agents
   •      Surety bonds and surety providers
   •      Other IPL Parties significant to the bankruptcy case, and not included above.

       The parameters for excluding de minimis parties from the IPL depend on the facts and
circumstances of each particular bankruptcy case. In each category appropriate for de minimis
exclusions, the debtor should consider a practical de minimis limitation so that category will
contain only IPL Parties that bear on a Proposed Professional’s disinterestedness. The IPL should



                                         Exhibit A - 3
Case: 19-30088     Doc# 5924-1      Filed: 02/26/20 Entered: 02/26/20 21:37:07          Page 19
                                             of 24
       Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 20 of 24



disclose the dollar amount, percentage amount or other criteria (e.g., limiting equity holders to
thresholds based on value and percentage interest) chosen for de minimis exclusions in each
applicable category.

         Updates

       As set forth in the Protocol, the IPL is a dynamic document, and a debtor should change
and update the IPL during the course of a bankruptcy case. The debtor should update the IPL no
less frequently than every 90 days to reflect changing facts and circumstances, new
developments, and information learned during the bankruptcy case, as well as to cure inadvertent
omissions. After the filing of the bankruptcy case, the IPL should be updated to include
additional IPL Parties identified in:

   •      The debtor’s schedules and statements (including any amendments)
   •      Proofs of Claim
   •      Notices of appearance
   •      Adversary proceedings and other motions or applications
   •      Filings by prospective purchasers of debtor’s assets, plan proponents and under
          Bankruptcy Rule 2019
   •      Appointments of official committees and retention of Estate Professionals




                                         Exhibit A - 4
Case: 19-30088     Doc# 5924-1      Filed: 02/26/20 Entered: 02/26/20 21:37:07          Page 20
                                             of 24
    Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 21 of 24



                 EXHIBIT B TO HOUSTON DISCLOSURE PROTOCOL




                                     Exhibit B - 1
Case: 19-30088    Doc# 5924-1   Filed: 02/26/20 Entered: 02/26/20 21:37:07   Page 21
                                         of 24
    Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 22 of 24



                                           Exhibit B
                                     Form of Questionnaire

                                Urgent Request for Information

THIS IS AN URGENT REQUEST FOR INFORMATION THAT REQUIRES YOUR
IMMEDIATE ATTENTION AND RESPONSE IF YOU HAVE ANY INFORMATION
TO REPORT OR MATTERS TO DISCLOSE. YOUR FAILURE TIMELY TO
RESPOND WILL CONSTITUTE YOUR AFFIRMATION THAT YOU HAVE NO
INFORMATION TO REPORT OR MATTERS TO DISCLOSE. IF YOU WOULD
SELECT OPTION #1 TO EACH OF THE THREE QUESTIONS BELOW, YOU NEED
NOT RESPOND TO THIS QUESTIONNAIRE. THANK YOU IN ADVANCE FOR
YOUR PROMPT ASSISTANCE.

(Name of Proposed Professional) represents (or is applying for Bankruptcy Court authorization
to represent) (name of entity) and its affiliates listed below (collectively, the “Debtors”) or (the
Official Committee of Unsecured Creditors) (or other applicable official committee or party; as
the case may be, the “Client”)) in their (recently filed) (contemplated) chapter 11 bankruptcy
cases in the United States Bankruptcy Court for the _______________ District of
__________________.

As an advisor to the Client, there are several types of disclosures that we must make in order for
the Bankruptcy Court to approve retention of our firm. Most of the information required to be
disclosed can be obtained from the databases and conflicts records our firm maintains. That
process is underway. A limited amount of information, however, may most efficiently be
obtained directly from professionals employed by our firm and affiliates of our firm who receive
this Questionnaire (collectively, the “Questionnaire Recipients”). This request relates to the
second type of material listed above, which is why you are being contacted. The specific
disclosures that we are required to make are listed below.

First, we must disclose to the Bankruptcy Court presiding over the Debtors' cases any holdings
by the Questionnaire Recipients in either the debt or equity securities of the Debtors (e.g.,
excluding any investments, whether held through mutual funds or other investment vehicles, that
are managed by third parties with delegated investment authority and discretion; “Third-Party
Managed Investments”),as well as the existence of any other claims against the Debtors held by
any Questionnaire Recipient.

Second, we must disclose to the Bankruptcy Court whether any Questionnaire Recipient has any
connections to the United State Trustee or any person employed in the Office of the United
States Trustee for the ___________ District of ______________.

Third, we must disclose to the Bankruptcy Court whether any Questionnaire Recipient has any
connections to any of the Bankruptcy Judges for the ___________ District of ___________.

Please respond to this email no later than [_____, __ 20__] at noon EST:




                                          Exhibit B - 2
Case: 19-30088      Doc# 5924-1      Filed: 02/26/20 Entered: 02/26/20 21:37:07            Page 22
                                              of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 23 of 24



1.   Debt or Equity Securities, or Other Claims Against the Debtors.

Please indicate by replying to this email whether you, on or after [90 days prior to the date of this
questionnaire] have owned or held a beneficial interest in any debt or equity securities (other
than Third Party Managed Investments) of, or claims against, any of the Debtors. To reply,
review the options listed below and (electronically check the appropriate box) (select the
appropriate button at the top of this message).
Option #1 -- I have not held and do not hold debt or equity securities of, or other claims against,
any of the Debtors.
Option #2 -- I have held but no longer hold debt or equity securities (other than Third-Party
Managed Investments) of, or other claims against, any of the Debtors.
Option #3 -- I currently hold debt or equity securities (other than Third-Party Managed
Investments) of, or other claims against, one or more of the Debtors. (If selecting this option,
please describe in your reply the type of debt or equity securities that you hold, the name of the
issuer, and/or the nature of any claim that you may hold or assert. To do this, select "Edit the
response before sending" option to enter your comments.)


2.     Connections to the United States Trustee or any Person Employed by the Office of
the United States Trustee for the _____________ District of _______________.
The names of the United States Trustee and employees in the office of the United States Trustee
for the _____________ District of ____________ are listed below.


________________________
________________________
________________________
________________________
________________________
________________________
________________________
________________________


To reply, review the options listed below and (electronically check the appropriate box) or
(select the appropriate button at the top of this message).

Option #1 - I have no connections to the United States Trustee or to anyone employed in the
office of the United States trustee for the ___________________District of ______________

Option #2 - I have the following connections to the United States trustee or to someone
employed in the office of the United States Trustee for the ___________________ District of
____________. (If selecting this option, please describe in your reply the connections that you
have to the United States Trustee or to anyone employed in the office of the United States



                                           Exhibit B - 3
Case: 19-30088      Doc# 5924-1       Filed: 02/26/20 Entered: 02/26/20 21:37:07            Page 23
                                               of 24
     Case 18-35672 Document 1907-1 Filed in TXSB on 05/31/19 Page 24 of 24



Trustee for the _____________ District of ______________.       To do this, select "Edit the
response before sending" option to enter your comments.)


3.       Connections to any Bankruptcy Judges in the ______________ District of
_________. The names of the Bankruptcy Judges in the ______________ District of
__________ are listed below.

________________________
________________________

________________________

________________________


To reply, review the options listed below and (electronically check the appropriate box) or (
select the appropriate button at the top of this message).

Option #1 - I have no connections to any of the Bankruptcy Judges for the _____________
District of ____________.

Option #2 - I have the following connections to a Bankruptcy Judge for the ____________
District of ______________ (If selecting this option, please describe in your reply the
connections that you have to a Bankruptcy Judge for the _____________ District of
___________. To do this, select "Edit the response before sending" to enter your comments).



(Insert “Edit Response Before Sending” option at appropriate point to facilitate electronic
response)


If you have any questions concerning this urgent request for information, please call
(_____________________) at ( ) ___ - ____.


THANK YOU VERY MUCH FOR YOUR PROMPT ATTENTION TO THIS MATTER

List of [     ] Debtors:

(Each Debtor entity)




                                        Exhibit B - 4
Case: 19-30088    Doc# 5924-1      Filed: 02/26/20 Entered: 02/26/20 21:37:07       Page 24
                                            of 24
